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                    IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

   RICHARD KAPELA DAVIS, MICHAEL )          CIVIL NO. 11-00144 LEK-BMK
   HUGHES, DAMIEN KAAHU, ROBERT  )
   A. HOLBRON, JAMES KANE, III,  )
   ELLINGTON KEAWE, KALAI POAHA, )
   TYRONE KAWAELANILUA`OLE       )
   NA`OKI GALDONES,              )
                                 )
              Plaintiffs,        )
                                 )
        vs.                      )
                                 )
   NEIL ABERCROMBIE, in his      )
   official capacity as the      )
   Governor of the State of      )
   Hawaii; Director of Public    )
   Safety of the State of        )
   Hawai`i NOLAN ESPINDA;        )
   CORECIVIC,                    )
                                 )
              Defendants.        )
   _____________________________ )


   AMENDED ORDER GRANTING FINAL APPROVAL OF CLASS ACTION SETTLEMENT

              On February 24, 2016, Ted Sakai, in his official

   capacity as Director of the Hawai`i Department of Public Safety,

   and Corrections Corporation of America (“CCA”) filed their Motion

   for Preliminary Approval of Class Settlement Agreement Reached by

   Counsel on May 14, 2015 and Request to Set Fairness Hearing

   (“Preliminary Approval Motion”).1       [Dkt. no. 778.]     This Court

   granted the Preliminary Approval Motion at a hearing on August 8,



         1
          On May 16, 2017, this Court approved the parties’
   stipulation to replace CCA with CoreCivic and Ted Sakai with
   Director of Public Safety of the State of Hawai`i Nolan Espinda.
   [Dkt. no. 873.] This Court will refer to CoreCivic and
   Director Espinda collectively as “Defendants.”
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   2016.    [Dkt. no. 800 (Minutes).]       On February 6, 2017, this

   matter came before the Court for a final fairness hearing.            For

   the reasons set forth below, and after due consideration of the

   evidence and arguments presented by the parties and the record in

   this case, the Court CONCLUDES that good cause exists to GRANT

   final approval of the settlement in this action pursuant to Fed.

   R. Civ. P. 23(e).

                                   BACKGROUND

   I.      Procedural History

                Plaintiffs Richard Kapela Davis, Michael Hughes,

   Damien Kaahu, Robert A. Holbron, James Kane, III,

   Ellington Keawe, and Kalai Poaha filed the Second Amended

   Complaint for Damages and for Classwide Declaratory and

   Injunctive Relief (“Second Amended Complaint”) on August 22,

   2012.    [Dkt. no. 145.]     Plaintiff Tyrone Galdones also filed his

   Supplemental Complaint for Damages and for Classwide Declaratory

   and Injunctive Relief (“Supplemental Complaint”) on August 22,

   2012.    [Dkt. no. 146.]

                Plaintiffs are all Hawai`i residents who were convicted

   and sentenced for committing criminal violations of Hawai`i law.

   The Second Amended Complaint alleges that, during all periods

   relevant to the instant case, they were incarcerated at either

   Saguaro Correctional Center (“Saguaro”) or Red Rock Correctional




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   Center (“Red Rock”).2     Each Plaintiff is of Native Hawaiian

   ancestry and is a practitioner of the Native Hawaiian religion.

   Saguaro and Red Rock are private prisons in Arizona, operated by

   CoreCivic.    The State of Hawai`i houses inmates at CoreCivic’s

   facilities pursuant to various contracts.         [Second Amended

   Complaint at ¶¶ 7-10, 12(c), 17-18; Supplemental Complaint at

   ¶¶ 7-10, 12(c), 17-18.]      In the instant case, Plaintiffs allege

   that Defendants have prohibited them from exercising their

   constitutional and statutory right to practice their faith.

                The Second Amended Complaint alleges the following

   claims:

   -Violation of Plaintiffs’ right to the free exercise of their
        religion pursuant to the First and Fourteenth Amendments of
        the United States Constitution as to daily worship practices
        (“Count I”), the observance of Makahiki3 (“Count II”),
        access to sacred items (“Count III”), access to sacred space
        (“Count IV”), and access to a spiritual advisor (“Count V”);

   -Violation of Plaintiffs’ equal protection rights pursuant to the
        Fourteenth Amendment of the United States Constitution as to
        daily worship practices (“Count VI”), the observance of


         2
          As of May 30, 2013, the Hawai`i inmates who were assigned
   to Red Rock were permanently transferred to Saguaro. [Defs.’
   Concise Statement of Facts in Supp. of Motion for Summary
   Judgment, filed 7/31/13 (dkt. no. 361-2), Decl. of Warden Thomas
   at ¶ 5; id., Decl. of Warden Stolc at ¶ 5.]
         3
          Plaintiffs allege that “[t]he Makahiki season is signaled
   by the rising of the Makali`i (Pleiades) Constellation in
   October-November of each year. The Makahiki season ends by the
   setting of Makali`i (Pleiades) Constellation in February-March of
   each year.” [Second Amended Complaint at ¶ 47.] There are
   ceremonies, including customary and traditional activities,
   marking the beginning and the end of the Makahiki season. [Id.
   at ¶ 48.]

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         Makahiki (“Count VII”), access to sacred items
         (“Count VIII”), access to sacred space (“Count IX”), and
         access to a spiritual advisor (“Count X”);

   -Violation of Plaintiffs’ right to free exercise of their
        religion pursuant to Article I, § 4 of the Hawai`i State
        Constitution as to daily worship practices (“Count XI”), the
        observance of Makahiki (“Count XII”), access to sacred items
        (“Count XIII”), access to sacred space (“Count XIV”), and
        access to a spiritual advisor (“Count XV”);

   -Violation of Plaintiffs’ equal protection rights pursuant to
        Article I, § 5 of the Hawai`i State Constitution as to daily
        worship practices (“Count XVI”), the observance of Makahiki
        (“Count XVII”), access to sacred items (“Count XVIII”),
        access to sacred space (“Count XIX”), and access to a
        spiritual advisor (“Count XX”);

   -Violation of Plaintiffs’ rights relating to native Hawaiian
        customary and traditional practices pursuant to Article XII,
        § 7 of the Hawai`i State Constitution and Haw. Rev. Stat.
        § 1-1 as to the observance of Makahiki (“Count XXI”);

   -Violation of the Religious Land Use and Institutionalized
        Persons Act, 42 U.S.C. § 2000cc, et seq. (“RLUIPA”), as to
        daily worship practices (“Count XXII”), the observance of
        Makahiki (“Count XXIII”), access to sacred items
        (“Count XXIV”), access to sacred space (“Count XXV”), and
        access to a spiritual advisor (“Count XXVI”).

              The Supplemental Complaint states that Plaintiff

   Galdones “hereby joins in and asserts COUNTS I through XXVI of

   the Amended Complaint[4] on his own behalf and on behalf of all

   those similarly situated.”      [Supplemental Complaint at ¶ 124.]

   The Supplemental Complaint also asserted an additional claim

   alleging that Defendants retaliated against him, in violation of



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          Plaintiffs’ Amended Complaint for Damages and for
   Classwide Declaratory and Injunctive Relief, [filed 11/14/11
   (dkt. no. 42),] alleged the same twenty-six claims that
   Plaintiffs allege in the Second Amended Complaint.

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   both federal law and state law.       [Id. at ¶¶ 125-37.]     This Court

   dismissed Galdones’s retaliation claim under federal law for

   failure to exhaust his administrative remedies.          [Order Granting

   in Part and Denying in Part Defendants’ Motion to Dismiss for

   Failure to Exhaust, filed 4/11/13 (dkt. no. 286) (“4/11/13

   Order”), at 28-29.5]     Plaintiff Galdones’s state law retaliation

   claim and the claims that are asserted in the Second Amended

   Complaint remained.

                On September 30, 2014, this Court issued its Order

   Granting in Part and Denying in Part Plaintiffs’ Amended Second

   Motion for Class Certification (“9/30/14 Certification Order”).

   [Dkt. no. 644.6]     This Court certified:

   -“a class, seeking prospective declaratory and injunctive relief,
        as to Plaintiffs’ remaining claims regarding daily, outdoor,
        group worship and the remaining claims regarding access to
        sacred items (‘the Prospective Relief Class’)”; 9/30/14
        Certification Order, 2014 WL 4956454, at *28;

   -“a subclass, seeking prospective declaratory and injunctive
        relief, with regard to: 1) the same claims described supra
        as to the Prospective Relief Class; and 2) the remaining
        state and federal claims regarding lack of access to
        communal sacred items in protective custody (‘the
        Prospective Relief Subclass’)”; id. at *29;7




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             The 4/11/13 Order is available at 2013 WL 1568425.
         6
          The 9/30/14 Certification Order is also available at 2014
   WL 4956454.
         7
          The 9/30/14 Certification Order, however, mistakenly
   refers to the Protective Custody Prospective Relief Subclass as
   the “Prospective Relief Subclass.” 2014 WL 4956454, at *29.

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   -“a class, seeking nominal damages and other retrospective
        relief, as to Counts I through X, and XXII through XXVI
        (‘the Damages Class’)”; id.;

   -“a subclass, seeking nominal damages and other retrospective
        relief, as to Counts I, II, III, V, VI, VII, VIII, X, XXII,
        XXIII, XXIV, and XXVI (‘the SHIP Damages Subclass’)”;8 id.;
        and

   -“a subclass, seeking nominal damages and other retrospective
        relief, as to Counts I through X, and XXII through XXVI
        (‘the Protective Custody Damages Subclass’)”; id.

         A.   Remaining Claims

              By the time of trial, which was scheduled for June 5,

   2015, the following claims remained:

              1.    Class Claims

   -Counts I (federal free exercise), VI (federal equal protection),
        XI (state free exercise), XVI (state equal protection), and
             XXII (RLUIPA) regarding daily, outdoor, group worship
             by the Prospective Relief Class and the Protective
             Custody Prospective Relief Subclass;

   -Counts III (federal free exercise), XIII (state free exercise),
        and XXIV (RLUIPA) regarding lack of daily access to personal
        amulets and `ohe hano ihu (bamboo nose flute) by the
        Prospective Relief Class and the Protective Custody
        Prospective Relief Subclass;

   -Counts VIII (federal equal protection) and XVIII (state equal
        protection) regarding lack of daily access to personal
        amulets, `ohe hano ihu, coconut oil, and malo, kihei, and
        pau (native garments) by the Prospective Relief Class and
        the Protective Custody Prospective Relief Subclass;

   -Counts III, VIII, XIII, XVIII, and XXIV regarding lack of access
        to communal sacred items in protective custody by the
        Protective Custody Prospective Relief Subclass;




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          “SHIP” refers to Saguaro’s Special Housing Incentive
   Program. 9/30/14 Certification Order, 2014 WL 4956454, at *29.

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   -Counts I through V (federal free exercise), VI through X
   (federal equal protection), and XXII through XXVI (RLUIPA) by the
   Damages Class and the Protective Custody Damages Subclass; and

   -Counts I, II, III, V, VI, VII, VIII, X, XXII, XXIII, XXIV, and
        XXVI by the SHIP Damages Subclass.

              2.    Individual Claims

              The individual Plaintiffs had the following claims, in

   addition to the claims they were pursuing as class

   representatives.

   -Plaintiff Galdones’s state law retaliation claim, set forth in
        his Supplemental Complaint.

   -Plaintiffs Kane and Keawe’s federal claims for compensatory
        damages, nominal damages, and retrospective equitable relief
        based on alleged violations that occurred while they were in
        protective custody at Red Rock. See Order Granting in Part
        and Denying in Part Defs.’ Motion for Summary Judgment Re:
        Sovereign Immunity/Damages, filed 7/31/14 (dkt. no. 596)
        (“7/31/14 Summary Judgment Order”), at 37, available at 2014
        WL 3809499, at *11 (ruling that Plaintiffs’ remaining claims
        under 42 U.S.C. § 1983 and RLUIPA claims for damages are
        limited to compensatory and nominal damages). These were
        the claims regarding: the observance of Makahiki (Counts II,
        VII, and XXII); access to sacred items (Counts III, VIII,
        and XXIV); and access to a spiritual advisor (Counts V, X,
        and XXVI).

   -Plaintiffs Kane and Keawe’s claims for prospective equitable
        relief regarding the observance of Makahiki in protective
        custody at Saguaro (Counts II, VII, XII, XVII, and XXII).

   -Plaintiff Davis’s federal claims for compensatory damages,
        nominal damages, and retrospective equitable relief based on
        the exclusion from certain Makahiki ceremonies (Counts II,
        VII, and XXII) on the ground that he allegedly had
        insufficient attendance at the Native Hawaiian religion
        classes that were a prerequisite to participation.

   -Plaintiff Holbron’s claims for prospective equitable relief
        regarding the practice of the Native Hawaiian religion in
        administrative segregation and SHIP. These are: the
        observance of Makahiki (Counts II, VII, XII, XVII, and

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         XXII); access to sacred items (Counts III, VIII, XIII,
         XVIII, and XXIV); and access to a spiritual advisor
         (Counts V, X, XV, XX, and XXVI). However, his claims were
         subject to him establishing that there is a reasonable
         expectation that he may be placed in administrative
         segregation and/or SHIP in the future. See Amended Order
         Granting in Part and Denying in Part Defendants’ Motion for
         Summary Judgment; Granting in Part and Denying in Part
         Plaintiff Robert Holbron’s Counter-motion for Summary
         Judgment on His Claims; and Granting in Part and Denying in
         Part Plaintiffs’ Motion for Partial Summary Judgment Against
         Defendants as to Their Claims under the Religious Land Use
         and Institutionalized Persons Act, filed June 13, 2014
         (“6/13/14 Summary Judgment Order”) (dkt. no. 544), available
         at 2014 WL 2716856, at *5.

         B.   Settlement

              On May 14, 2015, the magistrate judge held a settlement

   conference.    The case settled and the terms of the settlement

   were placed on the record (“Settlement on the Record”).

   [Minutes, filed 5/14/15 (dkt. no. 745).]        The magistrate judge

   stated:

              I understand we have now reached an agreement.
              This, of course, will be subject to the consent of
              members of the class, the plaintiffs. We’ve
              discussed this at length during our settlement
              conference this afternoon, but perhaps this would
              be a good opportunity to put the material terms of
              the agreement on the record.

                   I know that some work will be required to
              finalize a number of the details, but we should
              put the parameters of this on the record at this
              time, so that we can be set in place, and then, of
              course, call off the dogs on our trial prep, and
              trial date, and the like.

   [Trans. of 5/14/15 proceedings (“5/14/15 Trans.”), filed 6/5/15

   (dkt. no. 751), at 3-4.]      After counsel placed the essential



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   terms of the agreement on the record, the magistrate judge

   stated:

              This is an agreement that you all have reached,
              and I know the defendants are fully on board with
              this. All we need to do is to get the class
              representatives to agree, and then of course
              notice out to the class.

                   So at this point, I believe we have enough of
              an agreement to stop the process of preparing for
              trial and that’s one of the incentives, of course,
              to, you know, reach this agreement at this
              time. . . .

   [Id. at 15.]

   II.   The Settlement

              Defendants describe the terms of the settlement reached

   on May 14, 2015 as follows:


              Religious Items:

              -     Registered Native Hawaiian practitioners in
                    [the general population (“GC”)] and
                    [protective custody (“PC”)] may: (1) retain
                    in-cell one each of lava lava (pau), kīhei,
                    and malo in a Ziploc bag with the inmate’s
                    in-cell property; (2) retain previously
                    authorized pa`akai (sea salt), written
                    religious materials (chants/ genealogies),
                    and ti leaf; (3) check out a `ohe hano ihu
                    (bamboo nose flute) for religious use;
                    (4) have access to communal religious items
                    stored in the chapel during group
                    programming; (5) purchase a small amount of
                    coconut oil for in-cell religious use only;
                    and (6) purchase one approved amulet.

              -     Kīhei, malo and lava to be made by [Saguaro]
                    Native Hawaiian practitioners in the GP
                    religious programming classes. Parties to
                    work together to identify a vendor source for
                    materials, [Saguaro] to procure source

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             materials, inmates paying their pro rata
             share for fabric cost through their inmate
             accounts (donations restricted).

       -     Bamboo nose flute loaner system to be
             implemented for the six flutes available in
             the [Saguaro] chapel for week long checkouts,
             subject to individualized safety/security
             restriction. [Saguaro] to purchase six
             additional flutes for the loaner system.

       -     Counsel   to work together to identify and
             approve   vendor source for amulets, in five
             shapes,   subject to [Saguaro] approval,
             inmates   paying their pro rata cost for
             amulets   through their inmate accounts.

       -     [Saguaro] to source coconut oil in bulk from
             a Hawaiian company, inmates paying their pro
             rata share, with process to be put into place
             for frequency of refills.

       -     Registered Native Hawaiian practitioners in
             administrative/ disciplinary segregation
             custody (including SHIP I/II/III), may
             retain: (1) one approved amulet; (2) pa`akai
             (sea salt); (3) written religious materials
             (chants/genealogies); and (4) either a lava
             lava, kīhei, or malo (Parties to work
             together to elect one standard item/no
             individual inmate election. No possession of
             coconut oil or bamboo nose flutes for
             safety/security reasons.

       -     [Saguaro] agrees to publish in-cell retention
             list in [Saguaro] chapel and add list to
             [Saguaro] Policy 14-6.

       -     While donations are restricted, replacement
             of communal use religious items may be
             requested and [Saguaro] agrees to work with
             inmate population to identify a source/vendor
             for replacement.

       -     [Saguaro] agrees to publish a communal items
             list in [Saguaro] chapel and add list to
             [Saguaro] Policy 14-6.


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       Religious Programming:

       -     Registered Native Hawaiian practitioners in
             GP: (1) permitted outdoor worship classes six
             times a year for 1.5 hours each time during
             regularly scheduled ritual class; and
             (2) permitted to participate in two
             solstice/equinox and two Makahiki
             celebrations each year.

       -     Registered Native Hawaiian practitioners in
             PC: (1) permitted once a week group gathering
             for 1.5 hours in a secure location to be
             determined by the facility; (2) provided
             access to limited number of communal items
             stored in the chapel; and (3) permitted
             limited, two Makahiki celebrations each year
             within a few days of the GP Makahiki
             celebrations, provided the same food
             offerings permitted for GP.

       -     Upon request and subject to availability,
             registered Native Hawaiian practitioners in
             segregation/SHIP I may request to meet with a
             spiritual advisor (if available) for
             Makahiki, the spiritual advisor may meet with
             the inmate through the cell door for
             approximately 15-20 minutes for non-
             disruptive ministry/prayers/chants.
             Ceremonial food offerings administered by the
             spiritual advisor through the cell door food
             slot and, by written advance request, inmate
             may receive (in-cell) the meal tray provided
             to GP inmates participating in Makahiki.

       -     Upon request and subject to availability,
             registered Native Hawaiian practitioner
             inmates in SHIP II/III may request to meet
             with a spiritual advisor (if available) for
             Makahiki, the spiritual advisor may meet with
             the inmates in the dayroom of the SHIP II/III
             pods (separate gatherings) for non-disruptive
             chants/prayers/administering of ceremonial
             food offerings. By written advance request,
             inmates may receive (in-cell) the meal tray
             provided to GP inmates participating in
             Makahiki.


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          -       Participation in programming subject to
                  restrictions for safety/security/operational
                  risks based on an individualized assessment
                  of an inmate’s history/behavior.

          Waiver of Claims/Damages and Costs Payment:

          -       The individual Plaintiffs and the Class waive
                  and release all claims, including all claims
                  for damages.

          -       Defendant [CoreCivic] agrees to pay a total
                  amount of $70,000.00 to the Native Hawaiian
                  Legal Corporation for costs incurred.
                  Parties to incur their own attorneys’ fees.

          Other Provisions:

          -       Within sixty (60) days after the Court has
                  approved the final Settlement Agreement, the
                  agreed upon religious programming and items
                  will be made available for [Saguaro] inmates
                  registered as Native Hawaiian practitioners.


          -       If an inmate changes his religion from Native
                  Hawaiian to another religion, he will no
                  longer be allowed to possess the in-cell
                  items, use any communal religious items, or
                  participate in Native Hawaiian programming.

          -       The Parties agree there will be no consent
                  decree or court-ordered monitoring, and the
                  Court will not retain jurisdiction over
                  enforcement of this Agreement.

[Mem. in Supp. of Preliminary Approval Motion at 12-15 (footnote

and citations omitted).]

III. Approval Process

          The magistrate judge held two status conferences to

address issues related to the settlement during May 2015.          [Dkt.

nos. 747, 749.]    On October 16, 2015, the magistrate judge held a


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further settlement conference.      He reiterated that the case had

settled and stated that the parties were working on the

settlement documents.     [Minutes, filed 10/16/15 (dkt. no. 765);

Entering Order, filed 10/21/15 (dkt. no. 766) (clarifying

deadlines in dkt. no. 765).]      The parties, however, had

difficulty finalizing the settlement documents, and the

magistrate judge held further status conferences to address

issues related to the settlement.       [Dkt. nos. 769, 772, 776.]

          As previously noted, Defendants filed their Preliminary

Approval Motion on February 24, 2016.       Plaintiffs filed a

memorandum in opposition on April 18, 2016, and Defendants filed

a reply on April 25, 2016.     [Dkt. nos. 789, 790.]      This Court

granted preliminary approval on August 8, 2016.

          On September 7, 2016, this Court issued the Order

Approving Notice of Proposed Class Action Settlement and Setting

Final Fairness Hearing (“9/7/16 Notice Order”).         [Dkt. no. 806.]

The 9/7/16 Notice Order set the final fairness hearing for

February 6, 2017 and approved the class notice attached to the

9/7/16 Notice Order as Exhibit A.       This Court ordered the parties

to commence distribution of the approved notice within ten days

of the filing of the 9/7/16 Notice Order and issued deadlines for

the submission of objections from class members and the filing of

the parties’ briefs regarding whether class members could opt-out

of the settlement.


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             On September 26, 2016, Defendants filed a notice

attesting to their compliance with the notice provisions of the

9/7/16 Notice Order.    [Dkt. no. 818.]     On December 8, 2016, and

December 15, 2016, Plaintiffs and Defendants filed their

respective statements addressing the opt-out issue.         [Dkt. nos.

860, 861.]

             Prior to the final fairness hearing, this Court

received fourteen letters of objection to the settlement.          [Dkt.

nos. 815-17, 821-22, 829, 835, 848-51, 857-59, 864.]         These

include a letter signed by nine inmates and a letter from Class

counsel on behalf of Plaintiffs.      [Dkt. nos. 857, 858.]      Many of

the objections expressed personal complaints that were outside of

the scope of this litigation.      The majority of the objections

merely reiterated argument that have already been addressed by

this Court.

                                STANDARD

             Federal Rule of Civil Procedure 23(e) states, in

pertinent part:

             The claims, issues, or defenses of a certified
             class may be settled, voluntarily dismissed, or
             compromised only with the court’s approval. The
             following procedures apply to a proposed
             settlement, voluntary dismissal, or compromise:

                  (1) The court must direct notice in a
             reasonable manner to all class members who would
             be bound by the proposal.

                  (2) If the proposal would bind class
             members, the court may approve it only after a

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           hearing and on finding that it is fair,
           reasonable, and adequate.

                (3) The parties seeking approval must file a
           statement identifying any agreement made in
           connection with the proposal.

                (4) If the class action was previously
           certified under Rule 23(b)(3), the court may
           refuse to approve a settlement unless it affords a
           new opportunity to request exclusion to individual
           class members who had an earlier opportunity to
           request exclusion but did not do so.

                (5) Any class member may object to the
           proposal if it requires court approval under this
           subdivision (e); the objection may be withdrawn
           only with the court’s approval.

“The purpose of Rule 23(e) is to protect the unnamed members of

the class from unjust or unfair settlements affecting their

rights.”   In re Syncor ERISA Litig., 516 F.3d 1095, 1100 (9th

Cir. 2008) (citation omitted).

           This Court must examine the parties’ settlement as a

whole for overall fairness.     This Court must approve or reject

the settlement in this case in its entirety; this Court cannot

alter certain provisions.     See Hanlon v. Chrysler Corp., 150 F.3d

1011, 1026 (9th Cir. 1998).     Hanlon directs a district court

evaluating a proposed class action settlement to balance the

following factors:

           the strength of the plaintiffs’ case; the
           risk, expense, complexity, and likely
           duration of further litigation; the risk of
           maintaining class action status throughout
           the trial; the amount offered in settlement;
           the extent of discovery completed and the
           stage of the proceedings; the experience and

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             views of counsel; the presence of a
             governmental participant; and the reaction of
             the class members to the proposed settlement.

Id. (citations omitted).

                                 DISCUSSION

I.     Existence of a Settlement Agreement

             At the outset, this Court must address Plaintiffs’

argument that the parties never actually reached a settlement

agreement.     Plaintiffs raised this argument in their memorandum

in opposition to the Preliminary Approval Motion, and this Court

has already rejected this argument in granting the motion.

However, Plaintiffs continue to raise this argument.           [Pltfs.’

Statement Regarding Allowing Individuals to Opt-out, filed

12/8/16 (dkt. no. 860), at 1 (asserting that “there is no

agreement that Defendants have signed and promised to be bound

by”).]    This district court has stated:

                  Federal courts apply state contract law
             principles to the construction and enforcement of
             settlement agreements, even if the underlying
             claims are federal. See O’Neil v. Bunge Corp.,
             365 F.3d 820, 822 (9th Cir. 2004); United
             Commercial Ins. Serv., Inc. v. Paymaster Corp.,
             962 F.2d 853, 856 (9th Cir. 1992). In order to be
             enforceable, a settlement agreement must have the
             traditional elements of a contract: offer,
             acceptance, consideration, and parties who have
             the capacity and authority to enter into the
             agreement. See Amantiad v. Odum, 90 Hawai`i 152,
             162, 977 P.2d 160, 170 (1999). In addition, there
             must be mutual asset or a meeting of the minds as
             to all the essential elements of the contract.
             See Mednick v. Davey, 87 Hawai`i 450, 458, 959
             P.2d 439, 447 (Ct. App. 1998). . . .


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               If all of the elements of a valid contract
          are established, the settlement agreement should
          be given full force and effect unless there is
          evidence of bad faith or fraud. See Moran v.
          Guerreiro, 97 Hawai`i 354, 371, 37 P.3d 603, 620
          (Ct. App. 2001) (“Generally, in the absence of bad
          faith or fraud, when parties enter into an
          agreement settling and adjusting a dispute,
          neither party is permitted to repudiate it.”
          (quoting Miller v. Manuel, 9 Haw. App. 56, 63, 828
          P.2d 286, 291 (Ct. App. 1991)). . . .

Kaina v. Cty. of Maui, Civil No. 04–00608 DAE–LEK, 2008 WL

4108026, at *1 (D. Hawai`i Sept. 4, 2008); accord Doe v. Washoe

Cty., 339 F. App’x 747, 748 (9th Cir. 2009) (“In determining

whether a conditional settlement agreement is binding, courts

look to whether the parties demonstrated an intent to be bound by

the circumstances and the terms of the agreement.”).

          Based upon counsel’s statements during the Settlement

on the Record, this Court FINDS that: there was an offer,

acceptance, and agreed upon consideration; the parties who

participated in the settlement conference which resulted in the

Settlement on the Record had the capacity and authority to enter

into the settlement; and counsel agreed to the essential terms of

the settlement.    Further, this Court rejects Plaintiffs’ argument

that, because the parties never generated a signed written

agreement, Defendants are not bound by the terms stated during

the Settlement on the Record.      The representations by Defendants’

counsel at the Settlement on the Record and in their subsequent

filings in the settlement approval process are sufficient


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evidence of Defendants’ agreement to the settlement.            If

Defendants fail to honor the terms of the settlement after this

Court grants final approval, Defendants’ breach of the settlement

agreement would be actionable.         Finally, there is no evidence in

the record of bad faith or fraud by Defendants or their counsel

in the settlement process.        This Court therefore CONCLUDES that,

subject to the Court’s approval, there is a valid and enforceable

settlement agreement between the parties.

II.     Request for Litigation Expenses

             Insofar as the settlement includes reimbursement of

Class counsel’s litigation expenses, this Court must examine the

reasonableness of the award before it can grant final approval of

the settlement.       Fed. R. Civ. P. 23(h) states, inter alia: “In a

certified class action, the court may award reasonable attorney’s

fees and nontaxable costs that are authorized by law or by the

parties’ agreement.”       Thus, pursuant to Rule 23(h), the parties’

settlement agreement alone is a sufficient basis for an award of

reasonable nontaxable costs to Plaintiffs.           The Court, however,

emphasizes that it has only relied upon the parties’ agreement as

the basis for Plaintiffs’ entitlement to the award; the Court has

not relied upon the parties’ representation that the requested

award is reasonable.       The Court will independently review the

requested award for reasonableness.          See In re Bluetooth Headset

Prod. Liab. Litig., 654 F.3d 935, 941 (9th Cir. 2011) (noting


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that, even where the parties in a class action have agreed to an

amount for attorneys’ fees and costs, “courts have an independent

obligation to ensure that the award, like the settlement itself,

is reasonable”).    Based on this Court’s knowledge of the

proceedings in the case, which has been pending in this district

court for over six years, this Court FINDS that the payment of

$70,000.00 for the litigation costs incurred by Class counsel is

reasonable.

          The Court next turns the analysis of whether the

parties’ settlement meets the requirements set forth in

Rule 23(e).

III. Rule 23(e) Requirements

     A.   Request for a Second Opt-out Period

          This Court certified the Saguaro Damages Class, the

SHIP Damages Subclass, and the Saguaro Protective Custody Damages

Subclass pursuant to Rule 23(b)(3).       See 9/30/14 Certification

Order, 2014 WL 4956454, at *28.      Thus, pursuant to Rule 23(e)(4),

this Court “may refuse to approve a settlement unless it affords

a new opportunity to request exclusion to individual class

members who had an earlier opportunity to request exclusion but

did not do so.”    (Emphasis added.)     Plaintiffs argue that the

Class members should be allowed to opt out of the settlement

because Rule 23(e) encourages it, and because it is necessary to

protect the Class members’ due process rights.


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          This Court disagrees with Plaintiffs that Rule 23(e)(4)

encourages or favors allowing a post-settlement opt-out process.

Rule 23(e)(4)’s use of the word “may” does not support

Plaintiffs’ position; it means that the decision to require a

post-settlement opt-out process is within the court’s sound

discretion.   See, e.g., In re Washington Mut., Inc.,

No. 2:08-md-1919 MJP, 2015 WL 12803633, at *1 (W.D. Wash.

June 22, 2015) (“[T]he Court will exercise its discretion under

Rule 23(e)(4) and will not provide Class Members with a second

opportunity to exclude themselves from the Class in connection

with this Settlement.”); Klein v. O’Neal, Inc., 705 F. Supp. 2d

632, 663 (N.D. Tex. 2010) (“Under Rule 23(e)(4), the decision

whether to allow a second opt out is left to the court’s

discretion.”).

          Further, in a related context, the district court in

Klein stated, “class members who object to a proposed settlement

on due process grounds ‘must allege constitutional violations

with factual detail and particularity.’”       705 F. Supp. 3d at 663

(some citations and internal quotation marks omitted) (quoting

Newby v. Enron Corp., 394 F.3d 296, 309 (5th Cir. 2004)).          While

this Court does not conclude that Plaintiffs’ argument in favor

of a post-settlement opt-out process must meet this same

standard, this Court does conclude that the facts and legal




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arguments Plaintiffs have presented do not warrant ordering a

post-settlement opt-out process based on due process grounds.

          Plaintiffs also argue that a second opt-out period is

necessary to protect the Class members’ due process rights

because Defendants are seeking approval of a settlement that they

themselves are not bound to, and because Plaintiffs have not

actually agreed to the purported settlement.        This Court has

already rejected these arguments, and therefore CONCLUDES that

these arguments do not constitute grounds for a second opt-out

period.

          Further, this Court notes that only the Damages Class

and subclasses were certified – to seek nominal damages only –

pursuant to Rule 23(b)(3).     See 9/30/14 Certification Order, 2014

WL 4956454, at *21 (finding that the Prospective Relief Class and

the Protective Custody Prospective Relief Subclass met the

Rule 23(b)(2) requirements).      “In a Rule 23(b)(2) class

action, . . . class members are not allowed to opt out.”          Frank

v. United Airlines, Inc., 216 F.3d 845, 851 (9th Cir. 2000).              The

fact that the Rule 23(b)(2) class and subclasses were not

entitled to an opt-out period in the fist instance and the fact

that the settlement does not include any award of damages weigh

against the requirement of a post-settlement opt-out process.

          This Court, in the exercise of its sound discretion,

DECLINES to order a second opt-out period in the instant case.


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        B.   Remaining Requirements

             Based on the class notification efforts described

above, the Court FINDS that, as required by Rule 23(e)(1), notice

of the settlement was directed in a reasonable manner to all

Class members who would be bound by the settlement.

             Further, at the August 8, 2016 hearing, this Court

granted the Preliminary Approval Motion, finding that the

proposed settlement was “fair, reasonable, and adequate,” as

required by Rule 23(e)(2).        Defendants’ Preliminary Approval

Motion also satisfies Rule 23(e)(3)’s requirement of a statement

identifying the parties’ agreement.

             This Court received objections from Class members for

approximately three months prior to the final fairness hearing.

This Court FINDS that any Class member who objected to the

settlement had the opportunity to present his objections to this

Court, as required by Rule 23(e)(5).

             In light of the foregoing, this Court FINDS that all of

the Rule 23(e) requirements have been satisfied in this case.

This Court now turns to the evaluation of the settlement under

the Hanlon analysis.

IV.     Hanlon Factors

             As to the first Hanlon factor, the strength of the

plaintiffs’ case, while Plaintiffs had multiple claims survive

summary judgment, at the time of the Settlement on the Record,


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Defendants’ motion for de-certification was pending, as were

numerous motions in limine.9     The rulings on these motions could

have had a significant effect on the course of the trial.          Based

on the existing record, it is not clear that which side would

have prevailed at trial.     This Court therefore FINDS that the

first Hanlon factor weighs in favor of approving the settlement.

           As to the second Hanlon factor, the risk, expense,

complexity, and likely duration of the rest of the case, the

trial was scheduled to begin on June 2, 2015.        The trial was

expected to last approximately ten days.       [Minutes, filed 5/1/15

(dkt. no. 703) (final pretrial conference before the magistrate

judge).]   This Court FINDS that the risk, expense, and complexity

of the trial weighs in favor of approving the settlement.

           As to the third Hanlon factor, the risk of maintaining

class action status, Defendants’ decertification motion was

pending at the time of the Settlement on the Record.         This Court

therefore FINDS that this factor weighs in favor of approving the

settlement.

           As to the fourth Hanlon factor, the amount offered in

settlement, the settlement does not involve any monetary payments

to the Class.   However, it involves significant policy and


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       Defendants filed their Motion for Decertification of Class
Action Claims on April 24, 2015. [Dkt. no. 696.] On May 11,
2015, Plaintiffs filed eleven motions in limine. [Dkt. nos. 710-
19, 729.] On May 12, 2015, Defendants filed fourteen motions in
limine. [Dkt. nos. 723-28, 730-31, 734-36, 738, 741-42.]

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programming changes at Saguaro that will benefit the members of

the Class and will address many of the conditions challenged in

this case.    This Court therefore FINDS that the fourth Hanlon

factor weighs in favor of approving the settlement.

             As to the fifth Hanlon factor, the extent of discovery

completed and the stage of the proceedings, the Settlement on the

Record occurred less than three weeks prior to the start of

trial.   Compared to the significant amount of time the case had

been pending and the extensive litigation practice that occurred

prior to the Settlement on the Record, there was a relatively

short time remaining until the expected end of the trial.

However, settling the case avoided, not only the trial itself,

but also the possibility of post-trial motions and appeals.          This

Court therefore FINDS that the fifth Hanlon factor is neutral.

             As to the sixth Hanlon factor, it is undisputed that

both the Class and Defendants are represented by experienced

counsel who have specialized knowledge of cases such as this one.

At the time of the Settlement on the Record, Class counsel and

Defendants’ counsel agreed to the terms of the settlement, which

the magistrate judge described as “clearly in the best interest

of all of the parties.”     [5/14/15 Trans. at 16-17.]      Defendants

have continued to advocate the reasonableness of the settlement.

Although Class counsel filed objections to the settlement on

behalf of Plaintiffs prior to the final fairness hearing, Class


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counsel’s current position must be viewed in light of their

position at the time of the Settlement on the Record and in light

of the fact that this Court has already rejected Plaintiffs’

arguments that an agreement was never reached and that Defendants

are not bound by the settlement of which they seek approval.

This Court therefore FINDS that the sixth Hanlon factor weighs in

favor of approving the settlement.

             This Court FINDS that the seventh Hanlon factor, the

presence of government participants, weighs in favor of approving

the settlement because two of the defendants are State of Hawai`i

officials sued in their official capacity.        See, e.g., California

v. eBay, Inc., Case No. 5:12–cv–05874–EJD, 2015 WL 5168666, at *5

(N.D. Cal. Sept. 3, 2015) (noting in its analysis of this Hanlon

factor that “the State is charged with the trust of protecting

the state and its citizens”).

             Finally, this Court must consider the Class members’

reaction to the settlement.     In the 9/30/14 Certification Order,

this Court noted that “there are 179 inmates at Saguaro . . .

that have registered as practitioners of the Native Hawaiian

religion.”    2014 WL 4956454, at *7.     Although this Court received

objections from more than twenty members of the Class (including

Plaintiffs), the vast majority of the Class members who will be

affected by the settlement have not objected.        This Court




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therefore FINDS that the final Hanlon factor weighs in favor of

approving the settlement.

          Thus, none of the Hanlon factors weigh against

settlement approval, and the majority of the factors weigh in

favor of approval.    This Court FINDS that the settlement –

including the reimbursement of Class counsel’s litigation costs –

is fair, reasonable, and adequate.

                               CONCLUSION

          On the basis of the foregoing, this Court HEREBY GRANTS

final approval of the settlement and ORDERS the parties to

implement the terms of the settlement.       Pursuant to the terms of

the settlement, all of the remaining claims in this case are

HEREBY DISMISSED WITH PREJUDICE, with all parties to bear their

own respective attorneys’ fees and costs of suit, except as

expressly provided in this Order.

          There being no remaining claims in this case, the Court

DIRECTS the Clerk’s Office to close this case immediately.

          IT IS SO ORDERED.




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          DATED AT HONOLULU, HAWAII, May 22, 2017.



                                   /s/ Leslie E. Kobayashi
                                  Leslie E. Kobayashi
                                  United States District Judge




RICHARD KAPELA DAVIS, ET AL. VS. NEIL ABERCROMBIE, ET AL.; CIVIL
NO. 11-00144 LEK-BMK; AMENDED ORDER GRANTING FINAL APPROVAL OF
CLASS ACTION SETTLEMENT




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